    Case 2:18-cv-08420-RGK-JC Document 303 Filed 03/18/24 Page 1 of 1 Page ID #:2886
Name and address
John K. Rubiner / Bar No.: 155208
FREEMAN MATHIS & GARY, LLP
550 South Hope Street, Suite 2200
Los Angeles, CA 90071-2627
O: (213) 615-7000 F: (833) 264-2083
E-mail: jrubiner@fmglaw.com


                                      UNITED STATES DISTRICT COURT
                                     CENTRAL DISTRICT OF CALIFORNIA
United States of America,                                           CASE NUMBER

                                                                                                2:18-cv-8420-RGK-JC
                                                    Plaintiff(s)
                              v.
$1,546,076.35 in Bank Funds Seized from
Republic Bank of Arizona Account '1889, et al                                      REQUEST FOR APPROVAL OF
                                                                                  SUBSTITUTION OF ATTORNEY
                                                  Defendant(s).


         JOHN LARKIN                                    Plaintiff          Defendant                    Other Claimant
                         Name of Party

hereby requests that the Court approve the substitution of                      WALTER F. BROWN
                                                                                                   New Attorney
as attorney of record instead of             JOHN K. RUBINER
                                                                         Present Attorney

                  Mar 13, 2024                                          John Larkin
          Dated                                                       John Larkin (Mar 13, 2024 20:37 EDT)

                                                                      Signature of Party/Authorized Representative of Party



          I have given proper notice pursuant to Local Rule 83-2.9 and further consent to the above substitution.

          Dated March __,
                      18 2024
                                                                      Signature of Present Attorney


          I am duly admitted to practice in this District pursuant to Local Rule 83-2.

          Dated March 13, 2024
                                                                      Signature of New Attorney
                                                                      130248
                                                                      State Bar Number

          If party requesting to appear Pro Se:

          Dated
                                                                      Signature of Requesting Party

          NOTE: COUNSEL AND PARTIES ARE REMINDED TO SUBMIT A COMPLETED ORDER ON REQUEST FOR
          APPROVAL OF SUBSTITUTION OF ATTORNEY (G-01 ORDER) ALONG WITH THIS REQUEST.


G–01 (07/12)                       REQUEST FOR APPROVAL OF SUBSTITUTION OF ATTORNEY
